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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



 UNITED STATES OF AMERICA

    v.                                                 Case No. 1:19-cr-10080-NMG

 GREGORY COLBURN et al.,

                    Defendants


          MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
          IN LIMINE TO EXCLUDE EVIDENCE POSTDATING RICK SINGER’S
                     COOPERATION WITH THE GOVERNMENT
          William “Rick” Singer started cooperating with the government in late September 2018,

ending any alleged conspiracy with any of the Defendants in this case. Thereafter, at the

government’s behest and operating as the government’s agent, Singer worked undercover for the

government, attempting to gather inculpatory evidence to be used against the four defendants and

others.

          The Defendants therefore move to exclude all evidence and argument concerning

Singer’s actions as a cooperator, including recorded conversations, e-mails, and cell phone

messages. This evidence is irrelevant, and inadmissible against any of the four Defendants, as

coconspirator statements, because the conspiracy ceased to exist. Fed. R. Evid. 401. Nor should

the Court allow the government to parse out specific pieces of evidence against an individual

Defendant, with limiting instructions for the benefit of the other three Defendants. Such a

process would create substantial jury confusion and prejudice to all of the Defendants. The Court

should exclude such evidence since its purported probative value is outweighed by how this

evidence would confuse the issues and mislead the jury. Fed R. Evid. 403.




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 I.      THE ALLEGED CONSPIRACY CANNOT SURVIVE RICK SINGER’S COOPERATION WITH
                                THE GOVERNMENT

       Once Singer began cooperating with the government and acting under the direction of

FBI agents and Department of Justice officials, he became an agent of the government. An

agreement between a defendant and a government agent cannot be charged as a conspiracy as a

matter of law and Singer’s post-cooperation conduct and statements are thus irrelevant and

inadmissible. Fed. R. Evid. 401, 402; see also United States v. Castellini, 392 F.3d 35, 51 n.11

(1st Cir. 2004); United States v. Rivera-Ruperto, 884 F.3d 25, 32 (1st Cir. 2018) (“We have held

that a conspiracy may not be between one individual and a government agent.”) (Barron, J.,

concurring in the denial of en banc rehearing); United States v. Portela, 167 F.3d 687, 700 (1st

Cir. 1999); United States v. Giry, 818 F.2d 120, 126 (1st Cir. 1987). Singer’s statements,

moreover, could not have been in furtherance of a conspiracy. See, e.g., See United States v.

DeNunzio, No. 14-CR-10284-NMG, 2015 WL 2226251, at *4 (D. Mass. May 12, 2015)

(“[S]tatements qualifying as ‘mere idle chatter’ or ‘narratives of past events’ are not sufficient to

be considered in furtherance of a conspiracy.” (citing United States v. Ciresi, 697 F.3d 19, 28

(1st Cir. 2012))); United States v. Warman, 578 F.3d 320, 338 (6th Cir. 2009) (coconspirator’s

statements characterized as “bragging” or “idle chatter” were not statements in furtherance of

any conspiratorial objectives); cf. United States v. Singh, 494 F.3d 653, 659 (8th Cir. 2007)
(statement of cooperating informant could not be made “in furtherance of the conspiracy”).

       This case is akin to Portela, where the First Circuit held that cooperation with the

government by a co-conspirator ended a charged conspiracy and the introduction of post-

cooperation evidence created a variance between the proof offered and the charges. The charges

there involved a “single broad conspiracy” and with a single overlapping co-conspirator who
acted as a hub for the charged conspiracy. 167 F.3d at 694, 698-99. That single co-conspirator

was arrested and agreed to participate in a sting operation. Id. at 694. That cooperation with the

government in the sting operation by the single overlapping co-conspirator ended the conspiracy




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as a matter of law.1 Id. at 700. Much like the single overlapping co-conspirator in Portela, in this

case Singer was the sole overlapping hub in the alleged conspiracy. Accordingly, his cooperation

and participation in sting operations terminated any alleged conspiracy, any purported evidence

of further “overt acts” is legally irrelevant, and the Court should therefore exclude such evidence.

See Ex. A (identifying documents on the government’s proposed trial exhibit list that should be

excluded).

                      II.   INTRODUCTION OF EVIDENCE GATHERED
                  WHILE SINGER WAS A COOPERATING GOVERNMENT AGENT
                  WOULD LEAD TO IMPERMISSIBLE EVIDENTIARY SPILLOVER

       A.      Post-cooperation Singer communications are not admissible co-
               conspirator statements.
       Because the conspiracy ended once Singer became a government agent, his post-

cooperation communications are not subject to the co-conspirator exception to the hearsay rule,

under Fed Rule of Evidence 801(d)(2)(E). See generally United States v. Petrozziello, 548 F.2d

20 (1st Cir. 1977).2 All post-conspiracy communications between (a) Singer, the government
agent, and (b) persons who are not defendants on trial in this case is inadmissible hearsay. Fed.

R. Evid. 801(c). Moreover, given the joint-defendant nature of this jury trial, all post-cooperation

communications between Singer and one of the defendants in this trial will be hearsay evidence

against the other defendants, which the Court also should preclude. The resulting evidentiary

spillover from an alleged admission against one defendant unavoidably risks an impermissible

“transference of guilt” to other defendants that no jury instruction could cure.




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        The First Circuit ultimately found the variance in Portela to be harmless because “[t]he
sting operation transaction was distinct in its elements and timing from the other transactions in
this case” and the jury instructions were adequate to prevent spillover. 167 F.3d at 701. In stark
contrast, the evidence Defendants seek to exclude comprise engineered communications that
confuse the issues across charges and across the Defendants and is likely to mislead the jury by
creating a false veneer of guilt over innocent arrangements between Singer and the other
Defendants. Defendants submit that no jury instruction could prevent the evidentiary spillover.
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        Defendants separately move today for an order to require the government to proffer
non-hearsay corroborating evidence of the alleged conspiracy under Petrozziello.


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       B.      Admission of evidence gathered while Singer was a government agent
               to prove the conspiracy charge amounts to variance between the
               conspiracy charged and legally provable conspiracy
       Since Singer’s collaboration ended the alleged conspiracy as a matter of law there can be

no evidence that can prove a conspiracy surviving Singer’s collaboration. Accordingly,

introduction of the evidence will necessarily create a variance between the charges that can be

proven as a matter of law and the evidence introduced. See Portela, 167 F.3d at 700 (holding

introduction of evidence of post-conspiracy acts created a variance between the proof offered at

trial and the charge of conspiracy).

                III.    ADMISSION OF SINGER’S POST-COOPERATION EVIDENCE
                           WOULD RESULT IN REVERSIBLE ERROR
       The variance will constitute reversible error because it affect defendants’ substantial

rights at trial. See United States v. Glenn, 828 F.2d, 855, 858 (1st Cir. 1987) (stating that

variance between charged conspiracy and offered evidence constitutes reversible error when

evidence is insufficient to prove charged conspiracy). The variance—if not averted by excluding

Singer’s post-cooperation conduct and statements—would violate the hearsay rule, confuse the

issues between different defendants, confuse issues related to different counts for each defendant,

and mislead the jury. Fed. R. Evid. 403. The Court should therefore exclude all evidence and

argument concerning Singer’s post-collaboration conduct and statements.

       “A variance may prejudice the substantial rights of a defendant by . . . exposing him to

the threat the evidence incriminating other defendants might be used against him by a jury.”

United States v. Prieto, 812 F.3d 6, 12 (1st Cir. 2016). The irrelevant post-collaboration evidence

includes communications certain non-parties that were manufactured to create an improper and

false perception of malfeasance among all charged defendants. For example, the admission into

evidence of a voicemail left by Singer in Laura Janke’s mailbox, discussing the use of a fake

picture for a water polo applicant unrelated to John Wilson and his son’s application, would

unavoidably taint the transactions involving Wilson’s son, who was a competitive high-school

water polo athlete who met USC’s academic standards. September 19 recording (Session 8344).

As another example, the admission of communication between Donna Heinel and Singer about


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2018 admissions for USC athletes will unfairly weigh against defendant Wilson even though his

son’s admission in 2014 occurred before Singer met Heinel and years before Wilson

re-connected with Singer seeking college counseling for Wilson’s daughters, neither of whom

were applying to USC. See e.g., Session 9211 (Dated September 28, 2018), Session 9394 (Dated

October 2, 2018), and Session 9593 (Dated October 5, 2018). Under direction of the government,

Singer also lied about the services offered, such as connections that would enable a side-door at

Harvard when he had none. See e.g., Gov’t proposed trial ex. 578 (transcript of Oct. 15, 2018) at

2:14-23).
       This potential variance, by improperly allowing Singer’s post-cooperation conduct and

statements into evidence, also would prejudice the Defendants’ substantial rights because that

evidence would confuses issues from different counts. Portela, 167 F.3d at 700; Glenn, 828 F.2d

at 859-60 (finding violation of substantive rights stemming from unsupported conspiracy

allegation that led to conviction on charge where there was no evidence). The government

concocted Singer’s post-cooperation conduct and statements by having Singer read government-

written scripts tailored to try to falsely implicate the Defendants and to taint the innocent pre-

cooperation interactions between Singer and the Defendants. For example, the evidence from the

sting, if admitted, would create a false impression that Wilson knew that Singer directly paid

coaches3 in stark contrast with the available pre-collaboration evidence.

       The confusion stemming from the introduction of irrelevant evidence violating the

hearsay rule would create a pervasive prejudicial spillover, misleads the jury, and significantly

risk a miscarriage of justice:

       In a large joint trial, the jury will often see evidence tending to establish guilt of
       one defendant but inadmissible against another, or relevant to one count of an
       indictment but not to another, making it difficult to evaluate objectively the
       evidence. A ‘transference of guilt’ from a defendant to another or from one charge
       to another can take several forms, ranging from jury confusion to a subconscious

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       Before Singer became a government agent, he consistently told Wilson that his donation
would go to the school. It was only after the Singer started cooperating with the government that
he began using ambiguous phrases to try to support an argument that the money would go to a
coach personally. Phone Call from October 15, 2018 (10126-001) at 9:13-23.


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       accumulation of superfluous evidence, ‘an atmosphere clouding the jury’s ability
       to evaluate fairly’ the credibility of other, probative evidence.”
Portela, 167 F.3d at 700; see also United States v. Gurry, 427 F.Supp.3d 166, 196 (D. Mass.,

2019). If the jury were presented with this highly biased and excludable evidence, no instruction

could prevent a jury from improperly ascribing culpability from Singer’s misleading

communications and improperly transferring this sense of guilt when judging the pre-

collaboration acts.

                                           CONCLUSION
       This evidence this motion seeks to exclude is irrelevant and should be excluded. None of

this evidence could prove charges that are factually impossible. In view of its irrelevance, the

unfair prejudice, violation of the hearsay rule, confusion of issues, and propensity to mislead the

jury requires its exclusion. And given the risk of evidentiary spillover from engineered

conversations into innocent acts, danger of miscarriage of justice from introduction of this

irrelevant and excludable evidence looms very real, notwithstanding any limiting jury

instruction. For the foregoing reasons, Wilson respectfully request this Court to exclude all

evidence and argument of Singer’s post-cooperation conduct and statements, including the

documents listed in Exhibit A.




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Respectfully submitted,

John Wilson,

By his Counsel,

/s/ Michael Kendall
Michael Kendall (BBO #544866)             Andrew E. Tomback (pro hac vice)
Lauren Papenhausen (BBO# 655527)          MCLAUGHLIN & STERN, LLP
WHITE & CASE LLP                          260 Madison Avenue
75 State Street                           New York, NY 10016
Boston, MA 02109-1814                     Telephone: (212) 448-1100
Telephone: (617) 979-9310                 ATomback@mclaughlinstern.com
michael.kendall@whitecase.com
lauren.papenhause@whitecase.com




/s/ Brian T. Kelly                        /s/ Cory S. Flashner
Brian T. Kelly (BBO # 549566)             R. Robert Popeo (BBO # 403360)
Joshua C. Sharp (BBO # 681439)            Mark E. Robinson (BBO # 423080)
Lauren M. Maynard (BBO # 698742)          Eóin P. Beirne (BBO # 660885)
NIXON PEABODY LLP                         Cory S. Flashner (BBO # 629205)
53 State Street                           MINTZ, LEVIN, COHN, FERRIS,
Boston, MA 02109                          GLOVSKY AND POPEO, P.C.
(617) 345-1000                            One Financial Center
bkelly@nixonpeabody.com                   Boston, MA 02111
jsharp@nixonpeabody.com                   (617) 348-1605
lmaynard@nixonpeabody.com                 rpopeo@mintz.com
                                          mrobinson@mintz.com
Robert Sheketoff (BBO # 457340)           ebeirne@mintz.com
One McKinley Square                       csflashner@mintz.com
Boston, MA 02109                          Counsel for Elisabeth Kimmel
617-367-3449
Counsel for Gamal Abdelaziz


                                          /s/ Michael K. Loucks
                                          Michael K. Loucks (BBO # 305520)
                                          SKADDEN,             ARPS,       SLATE,
                                               MEAGHER & FLOM LLP
                                          500 Boylston Street
                                          Boston, MA 02116
                                          (617) 573-4800
                                          michael.loucks@skadden.com

                                          Jack P. DiCanio (pro hac vice)
                                          SKADDEN,             ARPS,         SLATE,
                                               MEAGHER & FLOM LLP
                                          525 University Avenue
                                          Palo Alto, CA 94301
                                          (650) 470-4500


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                                                     jack.dicanio@skadden.com
                                                     Counsel for Marci Palatella




 Date: July 30, 2021


        CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 7.1 AND 112.1

       I hereby certify that, before filing this motion, defense counsel attempted in good faith to
confer with the government to resolve or narrow the issues.

                                              /s/ Michael Kendall
                                              Michael Kendall


                                CERTIFICATE OF SERVICE

       I hereby certify that the above document is being filed on the date appearing in the header
through the ECF system, which will send true copies to the attorneys of record.

                                              /s/ Michael Kendall
                                              Michael Kendall




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